                          IN'TH E UNITED STATES DISTRICT COURT
                         FOR THE W ESTERN DISTRICT OF VIRGINIA
                                       R O AN O K E DIV ISIO N

    IN THE M ATTXR OF THE M V LICATION                  )
    OF THE UNITED STATES OF AM ERICA                    ) FILED UNDER SEAL
    FOR STORED ELECTROM C                               )
    COMMUNICATIONS(TEXT MESSAGES)OF)
    TELEPHONE NUM BER (540)393-1522                     )
    PURSUANT TO 18U.S.C.jj2703(a),                      )
    2703(b)(1)(A)and2703(c)(1)(A)
                              '                         )             f


                                    AFFIDA W T IN SU PPO R T O F
                                  SEARCH W ARRANT APPLICATION
                                     AN D SEA R CH W AR R AN T

                                          IN TR O DU C TIO N

                           I,'lason Thom pson,depose and say asfollows:

                Iam aSpecialAgentwiththeDrugEnforcementAdministration (DEA)andhave
    been so employed sinceFebruary 2004.1havereceived traininginthe area ofth8current

    investigation and detection ofcontrolled substancetraffickers.lhaveconducted and assisted in

    investigationsinto the unlawf'
                                 ulpossession,possession with'theintentto distribute,and

    distribution ofcontrolled substances,and the associated conspiraciesin violation ofTitle21,

    UrlitedStatesCodeSections841(a)(1),and 846.1haveparticipatedinthepreparation and
                                                                                 /
    executionofnumerousarrestandsearchwarrants?orcriminalOffensesinvolv'ingdistributionof
    ctmtrolledsubstances,andconspiracytodistriimtecontrolledsubstances.Furthermore,1have
    authom dtheinitialandextension aftidavitsregarding aTitle1lIinterception ofwireand

    electroniccommunications.Ihavecoordinatedandconducted sutwelllanceinconjunctionwith
    an active Title I1Iinvestigation. 1have also spoken on nlzm erous occasions With inform ants,

    suspects,and otherexperienced narcoticstrafflckersconcerningthem ethodsandpracticesof
'
    dnlgtraffickers,includingthem ethodsand practicesused by dnzgtraftickerq.
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                                                                                                          yI
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                                                                                                      (yd
                                                                                                  s   h
        lam familiarwiththem ethodsin.which drtlgtraffk kerscondud theirillegalactivities

to include communicatiön m ethods,assetmanagem ent,andnarcotictransactions.

       2. Through my training and experience,1nm fnm iliarwith thedrug culturein and arotmd
                                                                 l

the Southw estV irginia A rea.

       3.T'
          heinfonnation containedwithin tbisaffdavitisbased on my personalexperience as

wellason information providedto meby otherfederalagents,localpoliceofficers,and

confidentialsources.Youraffiantisawarethatnarcotictraffickersoften keep drugs,tirenrms,
and recordsintheirresidencesregarding thepurchase and sale ofcontrolled substances. Such

personsalsokeep telephonecall/text/voicem aildatarecordson theircellulardevice,records

regardinghometelephonebillings,cellulartelephonebillings,travel(airline,hotelandrental
carlreceipts,moneytransfers,andledgerswithpay/oweizlformation,firearms,nmmunition,and
any otherdocumentationthatcan identify controlled dnzg sales/purchasesand unknown co-

conspirators.A1loftheseitem shavesignificantevidentiary valuein dem onstratinginvolvem ent

in '
   drug trafficking.

         4. Im akethisaffidavitin supportofan application forasearch warrantforacertain

accountcontrolledby CéllcoPartnçrshipdbaVerizon W ireless(hereinafter(tverizon W ireless'),
a cellularproviderheadquartered at180 W ashington V alley Road,Bedm inster,N ew Jersey,

07921.Theaccount,(540)393-1522,is9om TracFoneW ireless,Incorporated;however,itis
being m aintained on theVerizon W irelessservers.Theaccounttobesearched isdescribed in

the following paragraphsand in Attachm entA . This affidavitism ade in supportofan

Applicationforaseàrchwarrantunder18U.S.C.jj2703(a),2703(b)(1)(A)and2703(c)(1)(A)to
require V erizon W irelessto disclose to the govem m entrecordsand otherinform ation in its

possession pertaining to the subscriberorcustom erassociated w ith the accounts,including the



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                                                                                                ,4(8l
contentsofcommtmications.Telephonenumber(540)393-1522wasbeingutilizedtocontact
drugassociatesandcondud (rug/moneytransadionsintheW estem DistrictofVirginiaand
elsewhere.Telephonenumber(540)393-1522isacellulartelephoneutilizedbyTimothy
CRAGH/AD (hereinafierreferredtoasCRAGHEAD),whoisbelievedtobeanarcotics
distributoroperatingintheW estern DistrictofVirginia.

            1havepersonallyparticipated in theinvestigation setforthbelow .Thefactsand

inform ation containedin thisaffdavitarebased on m ypersonalknowledge,aswellas

lcnowledgeand infonnation obtained from federaland state1aw ehforcementoftlcers. A11

observationsreferenced in thisaffidavitthatwerenotpersonallym adewererelayed to m ebythe

Personts)whomadesuchobservations,orbyreportsthatdetailedtheeventsdescribedbythat
personts).TheinvestigationhasutilizedaConfidentialSource(CS)andanUndercoverAgent
(UC).OneoftheConfidentialSources(hereinafterCS 1)hasprovidedinformationagainsttheir
penalinterestandthatinform ation hasbeen corroborated by independentsources. The

UndercoverAgent(hereinafterUC)hasconductedcontrolledptlrchasesduringthecourseofthis
investigation assetforth below .

         6.Thisafsdavitdoesnotcontain every factkrlown to meregarding thisinvestigation,

butrathercontainsinformatiùn sufficientto demonstrateprobablecauseto believethat

CR AGH EA D ,is engaged in a conspiracy .
                                        to violate federaldrug law s- to wit:conspiracy to

distributemethnmphetnmine,inviolation of21U.S.C.j846,anddistribution of
methnmphetnmine,inviolation of21U.S.C.j841,
                                          .offensesinvolvingtheuseof
comptmicatiohsfacilitiesincommissionofnarcoticsoffensessinviolationof21U.S.C.j
843(b);aswellastheidentification ofindividualswhoareengagedinthecommissionofthese
offenses. Sincethisaffidavitisbeing submitted forthelim ited purposeofsecttring asearch



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wanantforthe stored electroniccom munications,specifically textm essagesassociated with the

cellulartelephonebearingtelephonenumber(540)393-1522,Ihavenotincludeddetailsofevery
aspectofthe investigation.Factsnotsetforth herein àrenotbeing relied on in reachingm y

conclusion thattherequested search warrantshould beissued.Nordo 1requestthatthisCourt

rely on any factsnotsetforthherein in reviewingthisapplication.

            Youraffiantrespectfully submitsthatprobable causeexiststo believethat

CRAGHEAD utilizedtelephonenumber(540)393-1522toviolatefederaldnzglaws,andthata
search ofthe stored electroniccomm tmications,specifically textm essages,willleadto evidence

concerning these offenses.

                          STA TEM EN T O F PR O BABLE CA U SE

         8.Beginning in approxim ately April2019,DEA Roanokebegan investigatingthedrug

trafficldngactivitiespfCRAGHEAD âfter1aw enforcem entreceived inform atiùn that

CRAGtIEAD wasinvolvedinthedistribution ofmethnmphetmnine.
         9.In approximately June2019,investigatorsconducted an interview ofaConûdential

Source(hereinafterCS 1).CS 1statedthatduringtheapproximatetimeofmid-2018through
mid-2019,Tim othy CRAGHEAD wasam ethamphetamineSourceofSupply forhim/her. CS 1

stated he/sheptlrchased m etham phetam ine from CRAGHEAD on a weeldy basis. CS 1stated
thatduringtheabovetimeperl
                         todhe/shecalledtelephonenumber(54j)393-1522.tocontact

CRAGHEAD topre-anunge and conductthe clrugtransactions.

         10.InJuly2019,anUndercoverAgçnt(hereinafterUC),actingtmderthedirection of
theDEA RoanokeRO,contactedCRAGHEAD ontelephonenumber(540)393-1522andpre-
arranged atransaction forthe purchase of 14 gram s ofm etham phetam ine. The U C contacted

CR AGH EA D on m ultiple occasions via textm essaging to thisnllm berto successfully com plete



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                                                                                                 ytj
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thepm chase of14 gramsofm ethamphetaminefrom CRAGHEAD .Thetextm essagesbetween

CR AGH EA D and the U C w ere recorded.

             lnJuly2019,anUndercoverAgent(hereinafterUC),actingunderthedirectionof
theDEA RoanokeRO,contactedCRAGHEAD ontelephonenumber(540)393-1522andpre-
m anged asecohd transaction forthepurchaseof14 gram sofmethamphetamine.TheUC

contacted CRAGHEAD on m ultiple occasionsviatextm essagingto successfully com pletethe

Purchase of14 gramsofmethamphetaminefrom CRAGHEAD. Thetextm essagesbetween

CRA GH EA D and the U C w ere recorded.

         12.lnAugust2019,an UndercoverAgent(hereinafterUC),actingtmderthedirection
oftheDEA RoanokeRO,contactedCRAGHEAD ontelephonenumber(540)393-1522andpre-
arranged atransaction forthepurchase of2 otmcesofmethamphetam ine. TheUC contacted

CRAGHEAD on multipleoccasionsviatextm essagingto successfully completethepurchaseof

the2 ouncesofm ethamphetaminefrom CRAGHEAD .Thetextm essagesbetween

CRAGHEAD andtheUC wererecorded

         13.A recordscheck of(540)393-1522 showedthattherewasnosubscribernameor
addresslisted.ltisknown to investigatorsthatdrugtraffickersutilizecellulartelephone

accountswith nonamesand/orprovidefalseaccotmtinformation to avoid detection by 1aw

enforcem ent. CRAGHEAD isknown to havem ultipletelephonesin hispossession and

frequently discolm ectorçidrop''cellularphones.

         14. In m y training and experience,Ihave learned thatV erizon W ireless is a com pany

thatprovidescellulartelephoneaccessto the generalpublic,and thatstored electronic

com m llnications,including retrieved and un-retrieved voicem ailand textm essages forV erizon

W irelessanàTracFoneW ireless,Incorporated.Further,1am awazethatcomputezslocatedat


                                                                                           /X $/'
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Verizon W irelesscontain information and otherstored electronic communicationsbelongingto

otherum elatedthird parties.

         15.Am ongtheservicescomm only offeredby wirelessphoneprovidersisthe capacity

tosend shorttextormultimediamessages(photos,audio,orvideo)from onesubscriber'sphone
orwirelessdeviceto anothe
                        . rphone orwireless device via one orm ore w irelessproviders. This

serviceisoftenreferredtoasCçshol'tM essageService''(&çSM S'')orGtMultimediqM essaging
Service''(ç1M M S'') andisoften.referredtogenericallyasçûtextmessaging''(lrCçwireless
m essaginga''

         16. Based upon thisanalysisand the information outlinedin thisaffidavit,your'
                                                                                     affiant

believesthatCRAGHEAD utilized(540)393-1522tofartherhisillegalactivitiesandthat'
evidence oftheseillegalactivitieswillbefotmd in thestored electronic comm tmicationsfortltis

telephonenllm ber.

                                                                       '
                                                                           v   .



                                               J so Thom pson,SpecialAgent
                                               D Enforcem entAdministration


swom to beforem e'
                 this       (Z- dayofseptember2019      .




HoN RABLB ROéERT S.BALLOU
U nited StatesM agistrate Judge
W estern D istrictofV irginia




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